                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                               No. 5:19-CR-331-3BO


UNITED STATES OF AMERICA                     )
                                             )
V.                                           )                     ORDER
                                             )
MATTHEW SCOTT MCCLOUD                        )


       A hearing pursuant to Fed. R. Crim. P. 11 was conducted this day before the undersigned

 by telephone conference, during which the Court made a finding that defendant had waived the

 right to be physically present for the hearing because he was voluntarily absent from the

 courtroom and appearing by telephone conference.

       In accordance with Section l 5002(b)(2)(A) of the CARES Act, the Court further finds

that for specific reasons the Rule 11 hearing in this case could not be further delayed without

serious harm to the interests of justice. Specifically, it served the ends of justice to proceed

without defendant being physically present in the courtroom in order to avoid the unprecedented

and unacceptable health risk to defendant, the attorneys, and all court staff caused by the COVID-

19 pandemic. The Court also finds that proceeding in this manner served the ends of justice

because defendant reasonably requested and consented to appear by telephone conference.

Finally, the Court finds that a telephone conference was appropriate as video teleconferencing is

not reasonably available under these circumstances at this time.

SO ORDERED, this 29th day of April, 2020.




                                             CHIEF UNITED STA TES DISTRICT JUDGE




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